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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

NIRAV THAKKAR, an individual;                       )
                                                    )
                             Plaintiff,             )
                                                    )
v.                                                  )      Case No.: 15-cv-10109
                                                    )
OCWEN LOAN SERVICING, LLC, a Delaware               )      Honorable John J. Tharp, Jr.
limited liability company; ALTISOURCE               )
SOLUTIONS, INC., a Delaware corporation;            )      Magistrate Judge Maria
Valdez
ALTISOURCE PORTFOLIO SOLUTIONS, S.A.,               )
A Luxembourg corporation; BAXOL                     )
PROPERTIES, LLC, an Indiana limited liability       )
company; and LAUDAN PROPERTIES, LLC, an             )
Ohio limited liability company;                     )
                                                    )
                             Defendant(s).          )

       GREEN GROUP’S ANSWER AND AFFIRMATIVE DEFENSES TO
        LAUDAN PROPERTIES, LLC’S THIRD-PARTY COMPLAINT

       NOW COMES, third-party defendant, Green Group Corporation (“Green Group”),

by and through its counsel, McKnight & Kitzinger, LLC, and for its answer and affirmative

defenses to Laudan Properties, LLC’s third-party complaint, states as follows:


                                          PARTIES

       1.     Defendant/Third-Party Plaintiff Laudan is an Ohio corporation with its

principal place of business at 2057 Case Parkway, Twinsburg, Ohio 44140.

       ANSWER:        Admitted.

       2.     Defendant Green Group Corp. is an Illinois corporation with its principal

place of business at 747 E. Boughton #261, Bolingbrook, IL 60440.

       ANSWER:        Admitted.




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                              JURISDICTION AND VENUE

        3.      Subject matter jurisdiction is proper in this Court, because the amount

in controversy exceeds the sum value of $75,000, exclusive of interest and costs, and the

litigation is between citizens of different states.

        ANSWER:         Admitted.

        4.      This Court has personal jurisdiction over Green Group pursuant to the

claims alleged by Plaintiff Nirav Thakkar (“Plaintiff”) in the First Amended Complaint at

Law and because Green Group is an Illinois corporation.

        ANSWER:         Admitted.


        5.      Venue is proper in this Court because Plaintiff’s litigation claims arose in

this jurisdiction, and all of the cross -claims are derivative of those litigation claims.

        ANSWER:         Admitted.


                               FACTUAL ALLEGATIONS

        6.      Plaintiff Nirav Thakkar filed a First Amended Complaint at Law against

Laudan and others on December 9, 2016, alleging a violation of the Illinois Consumer

Fraud Act, 815 ILCS 505/22, a claim for negligence, and a claim for civil conspiracy

against all Defendants. Plaintiff also alleges a claim for trespass to real property and

chattels, a claim-for conversion, and a claim for invasion of privacy against Ocwen Loan

Servicing, LLC, Altisource and BaXol Properties, LLC.

        ANSWER:         Green Group admits that the Plaintiff filed his First Amended

Complaint at Law on December 9, 2016, but denies the allegations contained therein.

        7.      Laudan denies all material allegations of Plaintiff’s First Amended




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Complaint at Law.

       ANSWER:           Admitted.

       8.      Laudan persists in its denial of liability for any damages sought by Plaintiff.

       ANSWER:           Admitted.

       9.      Ocwen contracted with Altisource to perform property preservation

services.

       ANSWER:           Green Group lacks knowledge or information sufficient to form

a belief about the truth of the allegation.

       10.     Altisource’s affiliate, in turn, contracted with BaXol to perform property

preservation services.

ANSWER:        Green Group lacks knowledge or information sufficient to form a belief

about the truth of the allegation.

       11.     Altisource instructed BaXol to perform property preservation services at

311 Danbury Drive, Naperville, IL (the “Subject Property”) after it was determined that

the Subject Property was vacant.

       ANSWER:           Green Group lacks knowledge or information sufficient to form

a belief about the truth of the allegation.

       12.     BaXol, in turn, hired Green Group to perform property preservation services

at the Subject Property, including winterization of the Subject Property.

       ANSWER:           Admitted.

       13.     A t all relevant times, Green Group had a duty to exercise reasonable care

in the execution of the property preservation services, including, but not limited to, training,

instruction, direction, and supervision of its employees.




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        ANSWER:         Denied.

        14.     While Laudan denies the allegations in Plaintiff’s First Amended Complaint

regarding the failure to properly perform property preservation services, if the Plaintiff is

successful in proving such allegations, then Green Group would be negligent and liable for

one or more of the following acts and/or omissions:

                a)      failing to perform property preservation services in the manner
                        specified;

                b)      failing to employ adequate training, instruction, direction, and
                        supervision of its employees;

                c)      failing to employ and comply with all applicable guidelines,
                        instructions, standards, rules, and regulations regarding property
                        preservation activities; and

                d)      was otherwise careless and/or negligent.

        ANSWER:         Denied.

        15.     At all times relevant to this action, there was in full force and effect a statute

entitled “Contribution of Joint Tortfeasors Act,” 740 ILCS 100/01, et seq., under which

this cause of action is asserted.

        ANSWER:         Admitted.

        16.     If Laudan is found liable in any manner to the Plaintiff, liability that Laudan

continues to deny, that liability will arise in whole or in part as a result of one or more of

the foregoing negligent acts and/or omissions of Green Group. Accordingly, Laudan is

entitled to contribution from Third -Party Defendant, Green Group, in an amount

commensurate with the relative degree of negligence attributable to Third-Party Defendant,

Green Group, for the Plaintiff’s damages, if any.

        ANSWER:         Denied.




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        WHEREFORE, Green Group respectfully prays that judgment be entered in

favor of Green Group, and against Laudan, with an award of all reasonable costs,

and for any other relief this court deems just and appropriate.

                               AFFIRMATIVE DEFENSES

       AFFIRMATIVE DEFENSE NO. 1 – FAILURE TO STATE A CLAIM

        1.      Both the Plaintiff’s first amended complaint [Docket No. 88], and Laudan’s

third-party complaint [Docket No. 135], fail to state a claim for which relief may be

granted.

        WHEREFORE, Green Group respectfully prays that judgment be entered in favor

of Green Group, and against Laudan, with an award of all reasonable costs, and for any

other relief this court deems just and appropriate.

                    AFFIRMATIVE DEFENSE NO. 2 – ESTOPPEL

        2.      On or about March 23, 2013, BaXol and Green Group entered into a

subcontract (the “Subcontract”). A true and correct copy of the Subcontract is attached to

Baxol’s amended third-party complaint as Exhibit “C.” [Docket No. 182].

        3.      As part of the Subcontract BaXol forbade Green Group from contacting or

attempting to contact, either directly or indirectly, the owners, occupants or real estate

agents of any property for which it was providing services under the Agreement, which

included the Plaintiff in this case.

        4.      Similarly, as part of the Subcontract, BaXol forbade Green Group from

contacting its clients, associates, or other vendors.

        5.      Specifically, the Subcontract states in pertinent part:

                YOU agree NOT to contact or attempt to contact, either
                directly or indirectly, the owners, occupants, or real estate



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                  agents of any property for which YOU are providing
                  services for under this Agreement, without prior written
                  authorization from PCR ASSET SOLUTIONS.
                  YOU also agree not to circumvent PCR ASSET
                  SOLUTIONS and work with its clients, its associates, or its
                  other vendors to provide similar to or identical to those
                  services covered by this Agreement…

Ex. C, par. 12.

       6.         In doing so, BaXol contractually created a relationship under which Green

Group was obligated to, and reasonably believed it was required to, rely solely upon the

representations of BaXol with respect to the work that was to be performed under the

Subcontract.

       7.         Accordingly, BaXol is estopped from seeking indemnity and/or

contribution from Green Group for the work that it was instructed by BaXol to perform,

pursuant to the terms of the Subcontract.

       8.         To the extent that Laudan rights are alleged to arise out of it’s contractual

privity with BaXol, Laudan is similarly estopped from seeking indemnity and/or

contribution from Green Group for the work that it was instructed by BaXol to perform,

pursuant to the terms of the Subcontract.

       WHEREFORE, Green Group respectfully prays that judgment be entered in favor

of Green Group, and against Laudan, with an award of all reasonable costs, and for any

other relief this court deems just and appropriate.

                  AFFIRMATIVE DEFENSE NO. 3 – ACQUIESCENCE

       9.         Green Group reasserts the allegations in Paragraphs 2 to 6 of its Second

Affirmative Defense by reference as though fully set forth herein.

       10.        At all times, Green Group reported directly to BaXol with respect to the




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work that it was instructed by BaXol to perform, pursuant to the terms of the Subcontract.

        11.    At no point did BaXol inform Green Group that the work that it performing

was being performed improperly, and thus it expressly and/or impliedly acquiesced to those

actions performed by Green Group with respect to the Plaintiff’s property.

        12.    To the extent that Laudan’s rights are alleged to arise out of it’s contractual

privity with BaXol, Laudan similarly expressly and/or impliedly acquiesced to those

actions performed by Green Group with respect to the Plaintiff’s property.

        WHEREFORE, Green Group respectfully prays that judgment be entered in favor

of Green Group, and against Laudan, with an award of all reasonable costs, and for any

other relief this court deems just and appropriate.


                    AFFIRMATIVE DEFENSE NO. 4 – LACHES

        13.    Green Group reasserts the allegations in Paragraphs 2 to 6, & 10 of its

Second and Third Affirmative Defenses by reference as though fully set forth herein.

        14.    At no point did BaXol inform Green Group that the work that it performing

was being performed improperly, and thus it tolerated to those actions performed by Green

Group with respect to the Plaintiff’s property.

        15.    Accordingly, the doctrine of laches bars BaXol from seeking indemnity

and/or contribution from Green Group for the work that Green Group performed and BaXol

tolerated.

        16.    To the extent that Laudan’s rights are alleged to arise out of it’s contractual

privity with BaXol, Laudan similarly is barred by the doctrine of laches from seeking

indemnity and/or contribution from Green Group for the work that Green Group performed

and BaXol tolerated.



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       WHEREFORE, Green Group respectfully prays that judgment be entered in favor

of Green Group, and against Laudan, with an award of all costs, and for any other relief

this court deems just and appropriate.

              AFFIRMATIVE DEFENSE NO. 5 - UNCLEAN HANDS

       17.     Green Group reasserts the allegations in Paragraphs 2 to 6, & 10 of its

Second and Third Affirmative Defenses by reference as though fully set forth herein.

       18.     BaXol acted unfairly, deceitfully, or in bad faith in through its

representations to Green Group, with respect to the work to be performed at the Plaintiff’s

property.

       19.     Because Green Group was contractually required to, and reasonably relied

upon those representations and/or omissions of BaXol, with respect to the work performed

at the Plaintiff’s property, BaXol has unclean hands and should be barred from recovering

in indemnity and/or contribution from Green Group.

       20.     To the extent that Laudan’s rights are alleged to arise out of it’s contractual

privity with BaXol, Laudan similarly has unclean hands and should be barred from

recovering in indemnity and/or contribution from Green Group.

       WHEREFORE, Green Group respectfully prays that judgment be entered in favor

of Green Group, and against Laudan, with an award of all reasonable costs, and for any

other relief this court deems just and appropriate.

                    AFFIRMATIVE DEFENSE NO. 6 - MERGER

       21.     Green Group reasserts the allegations in Paragraph 2 of its Second

Affirmative Defense by reference as though fully set forth herein.

       22.     The Subcontract states in pertinent part:




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                  This agreement is the complete agreement of the parties
                  concerning the subject matter herein and supersedes and
                  prior such agreements, may not be amended or in any
                  manner modified except by a written instrument signed and
                  authorized by both parties…

Ex. C, par. 14.

       23.        To the extent that BaXol is seeking indemnity and/or contribution for acts

and/or omissions outside those contemplated by the express terms of the Subcontract, the

Subcontract controls and additional terms cannot be read into the agreement now so as to

modify the terms of the agreement.

       24.        To the extent that Laudan’s rights are alleged to arise out of it’s contractual

privity with BaXol, Laudan is similarly bound by the Subcontract, the Subcontract controls

and additional terms cannot be read into the agreement now so as to modify the terms of

the agreement.

       WHEREFORE, Green Group respectfully prays that judgment be entered in favor

of Green Group, and against Laudan, with an award of all reasonable costs, and for any

other relief this court deems just and appropriate.

             AFFIRMATIVE DEFENSE NO. 7 - INTENTIONAL ACTS

       25.        Laudan seeks contribution from Green Group, pursuant to the Illinois Joint

Tortfeasor Act, 740 ILCS 100/2, et seq..

       26.        Under Illinois law, a party may not seek contribution for intentional acts or

punitive damages arising therefrom. See Ziarko v. Soo Line R. Co., 161 Ill.2d 267 (Ill.,

1994); and Hall v. Archer-Daniels-Midland Co. 122 Ill.2d 448, 459-60 (1988); see also

Ziarko, 161 Ill.2d at 185 (acknowledging, “the decisions from other jurisdictions generally

do not permit the apportionment of liability with respect to awards of punitive damages”).




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        27.     Laudan’s contribution claim seeks redress with respect to the Plaintiff’s

 Illinois Consumer Fraud Act claim.

        28.     Should the court determine that the complained of acts or omissions were

 intentional, Laudan would not entitled to contribution as a matter of law. See Carl

 Sandburg Village Condominium Ass'n No. 1 v. First Condominium Development Co., 557

 N.E.2d 246, 197 Ill.App.3d 948, 145 Ill.Dec. 476 (Ill. App. 1 Dist., 1990).

        WHEREFORE, Green Group respectfully prays that judgment be entered in favor

 of Green Group, and against Laudan, with an award of all reasonable costs, and for any

 other relief this court deems just and appropriate.

                                                       Respectfully submitted,


 DATED: August 22, 2018                        By:     _/s/_Nathan P. Karlsgodt______


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                             PROOF OF SERVICE BY ECF

          I, Nathan P. Karlsgodt, an attorney, being first duly sworn on oath, depose and say
 that I served a copy of the attached document(s) by filing same with the Clerk of the Court
 using the CM/ECF system, on August 22, 2018, which will send notification of such filing
 to the following:

                                               /s/ Nathan P. Karlsgodt_______




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